            Case 1:25-cv-00613-MLB           Document 5-11         Filed 03/07/25      Page 1 of 1


                                 UNITED STATES BANKRUPTCY COURT

                                         Northern District of Georgia




In    Debtor(s)
Re:   Group Management Corp.                            Case No.: 03−93031−bem
      c/o Ulysses T. Ware                               Chapter: 11
      The Office of Ulysses T. Ware                     Judge: Barbara Ellis−Monro
      123 Linden Blvd, Ste 9−L
      Brooklyn, NY 11226

      59−2919648



                                      NOTICE OF CASE REASSIGNMENT



Notice is hereby given that this case has been reassigned to the Honorable Barbara Ellis−Monro.




                                                        Vania S. Allen
                                                        Clerk of Court
                                                        U.S. Bankruptcy Court




Dated: February 25, 2025

Form 301
